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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                           WESTERN DIVISION AT DAYTON

UNITED STATES OF AMERICA,             :         Case No. 3:15-cr-169(2)
                                      :
            Plaintiff,                :         Judge Thomas M. Rose
                                      :
v.                                    :
                                      :
ANTONIO SPIVA,                        :
                                      :
            Defendants.               :
______________________________________________________________________________

       ENTRY AND ORDER GRANTING IN PART AND DENYING IN PART
         DEFENDANT ANTONIO SPIVA’S MOTION IN LIMINE (DOC. 75)
______________________________________________________________________________

       This case is before the Court on Defendant Antonio Spiva’s Motion in Limine (Doc. 75),

which seeks the exclusion of evidence regarding: (1) the subject of expected prison time, (2) the

statement of Co-Defendant Charles McBeath, (3) statements made about the Assistant United

States Attorney assigned to the case; and (4) any “other irrelevant statements made not considered

an admission.” (Doc. 75 at 1.) The Government’s counsel has informed the Court that it does

not intend to introduce evidence of any statement made by Spiva about his possible prison time—if

found guilty of the crimes charged—or the Assistant United States Attorney assigned to this case.

Nor has the Government indicated that it believes such statements would be admissible at trial.

Accordingly, the Court grants the Motion in Limine as to those two categories of evidence.

       In the Court’s Order (Doc. 77) denying the Motions to Sever (Docs. 53, 59) filed by Spiva

and McBeath, it discussed the circumstances in which the Government might seek to introduce a

prior statement of McBeath at trial. No further discussion of this issue is necessary here. The

Court denies the Motion in Limine as to any prior statement by McBeath. Spiva may renew his

motion to exclude any prior statement of McBeath at trial, if the Government seeks to introduce
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such evidence.

        The Court denies Spiva’s motion to exclude “other irrelevant statements made not

considered an admission” as premature and inappropriate for consideration in a motion in limine.

When the Motion in Limine was filed, Spiva’s counsel was engaged in an “ongoing review” of

recorded telephone calls that Spiva made from Shelby County Jail. (Doc. 75 at 4.) Nonetheless,

Spiva’s counsel concluded that none of the calls have any probative value and therefore should be

excluded under Federal Rule of Evidence 403. The Court cannot preemptively rule on the

admissibility of every recorded telephone call made by Spiva while in custody without any of

those recordings before it. The Court does not even know how many calls were made or to whom

they were made. (Spiva does indicate that at least some calls were to his father.) The Court

therefore denies the Motion in Limine as to “other irrelevant statements.”         Again, if the

Government seeks to introduce a specific recording at trial, Spiva may renew his motion at that

time.

        In summary, the Court GRANTS Spiva’s Motion in Limine (Doc. 75) as to the subject of

expected prison time and statements made about the Assistant United States Attorney assigned to

this case. The Court DENIES the Motion in Limine (Doc. 75) as to any prior statement by

McBeath and “other irrelevant statements made not considered an admission.”

        DONE and ORDERED in Dayton, Ohio, this Friday, December 30, 2016.

                                                                 s/Thomas M. Rose
                                                         ________________________________
                                                                 THOMAS M. ROSE
                                                         UNITED STATES DISTRICT JUDGE




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